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              UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS
                  FORT WORTH DIVISION


  Sid Miller, et al.,

                        Plaintiffs,

  v.                                             Case No. 4:21-cv-00595-O

  Tom Vilsack, in his official capacity as
  Secretary of Agriculture,

                        Defendant.


      Plaintiffs’ Response To The National Black Farmers
 Association’s And The Association Of American Indian Farmers’
               Motion To Intervene As Defendant
       In light of the Fifth Circuit’s ruling of March 22, 2022, which allowed the Fed-
 eration of Southern Cooperatives/Land Assistance Fund to intervene as a defendant,
 the plaintiffs do not oppose the motion for intervention filed by the National Black
 Farmers Association and the Association of American Indian Farmers.

                                             Respectfully submitted.

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  Dated: April 15, 2022                  the Certified Classes




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                        CERTIFICATE OF SERVICE
     I certify that on April 15, 2022, I filed this document through the court’s
 CM/ECF system, which will serve all counsel of record.


                                          /s/ Jonathan F. Mitchell
                                         Jonathan F. Mitchell
                                         Counsel for Plaintiffs and
                                         the Certified Classes




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